Case 2:99-Cr-20162-BBD Document 51 Filed 07/07/05 Page 1 Of 2 Page|D 56.

 

IN THE UNITED STATES DISTRICT COURT F\\-E-" B"' H'£}a~/~ D‘°'
FOR THE wEsTERN DISTRICT oF TENNESSSSSEE 3, m
wEsTERN DIVISION 05 JUL "| PH '

UNITED sTATEs oF AMERICA, U%UOSF M§S§?M man

Plaintifr,

hocker No. 2=99-20162-1)

V.
QUEENESTER owENs,

Defendant.

 

ORDER

 

IT IS HEREBY ORDERED, ADJUGED AND DECREED that Ms. Velerie L.
Albonetti will be brought by the U.S. Marshall to the United States District Court,
Western District of Tennessee, 242 CliH`ord Davis Federal Bujlding, 167 North Main
Street, Memphis, Tennessee 38103, Court R.oom Three the morning of July 27, 2005 for

the above referenced cause’s Hearing.

 

This the fz ’&`day 0 , 2005.

  

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UNITED sTATE DISTRICT COURT - W"'RNT DISTRCT OFTENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

